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                        EXHIBIT G
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April 5, 2023

City of Cumming, Georgia
c/o Mr. Gil Puffer, P.E.
Civil Engineering Consultants, Inc.
4994 Lower Roswell Road, Suite 17
Marietta, Georgia 30068

Re:    Geotechnical Assessment Report
       City of Cumming
       Highway 20 Sawnee Tank Site - Slope Failure
       Cumming, Forsyth County, Georgia
       GeoSystems Project No. 22-2875

Dear Mr. Puffer:

GeoSystems Engineering, Inc. (GeoSystems) is pleased to submit the results of our geotechnical
assessment and repair recommendations for the December 2022 massive slope failure at the
existing Sawnee tank site located at 921 Canton Highway (Georgia Highway 20), Cumming,
Georgia. The following report includes the results of our site history research, field explorations,
laboratory testing and stability analysis.

Thank you for the opportunity to provide these services and we look forward to continuing working
with you on the slope repairs at the site. Please feel free to call us should you have any questions
or require additional information.

Sincerely,

GeoSystems Engineering, Inc.


                                                         04/05/2023
Larry D. Mullins, P.E.
Senior Registered Engineer




             11285 Elkins Road, Suite F2  Roswell, Georgia 30076  (678) 722-0340
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Highway 20 Sawnee Tank Site – Slope Failure                                                                             April 5, 2023
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                                          INTRODUCTION

GeoSystems Engineering, Inc. (GeoSystems) was retained by the City of Cumming (City) in
December 2022 to provide an initial assessment of a massive slope failure at the existing Sawnee
tank site located at 921 Canton Highway (Georgia Highway 20), Cumming, Georgia. The failure
emptied both water tanks at the site and impacted the adjacent property at 911 Canton Highway
along the southeast side of the tank site. The adjacent property is currently owned by Blount
Construction, Inc. The “site” referenced in this report collectively refers to the Sawnee tank site and
the adjacent 911 Canton Highway property study area. Figure 1 - Site Map shows the approximate
location of the site on the 1999 USGS topographic map of the area. Subsequent geotechnical
exploration, laboratory soil testing, geophysical investigation and slope stability analyses were
performed by GeoSystems to assess long-term slope stability at the site and provide permanent
repair recommendations for the failed slope.

The December 2022 failure of the existing slope, located near the southeast corner of the tank site,
reportedly occurred sometime during the night of December 6, 2022. The failure scarp impacted the
entire southeastern hillside, starting at the top of the slope on City property and continuing
downward on the adjacent property to the toe of the slope. The failure debris was deposited over the
lower part of the slope and across the adjacent property beyond the toe.

We initially visited the site on December 8 and 9, 2022, as requested by Mr. Gil Puffer, P.E. of Civil
Engineering Consultants (CEC), to observe the failure. During our site visit on the 9th, we met with
GeoStabilization International® (GSI®), a geotechnical contractor specializing in slope stabilization,
to discuss emergency slope stabilization measures. A Preliminary Geotechnical Assessment Report,
dated December 12, 2022, describing our observations, and providing preliminary recommendations
for emergency slope repairs and further assessment of long-term slope stability conditions at the site,
was submitted on December 13, 2022.

GeoStabilization International was contracted by the City to provide design/build emergency repairs
of the upper part of the slope failure to allow refilling of the tanks. The repairs consisted of the
installation of an approximate 100-foot long, 10-foot high permanent, shotcrete faced soil nail wall
with vertical grouted micropiles. GSI’s repair work was initiated during the week of December 19,
2022, and was completed about January 17, 2023.

Six soil test borings were completed along the top of the slope at the site on December 28 and 29,
2022 by our drilling subcontractor, Kilman Bros, Inc. Supplementary laboratory testing of selected
soil samples from the soil test borings was completed on January 10, 2023. Civil Engineering
Consultants provided a Topography Exhibit drawing, dated February 24, 2023, that shows the
existing topography of the site area and property boundaries of the tank site. A GeoSystems
subconsultant, Collier Geophysics, LLC (Collier) conducted a geophysical investigation at the site
and their Geophysical Letter Report was provided on March 17, 2023. GeoSystems has been
providing regular slope stability inspections at the site since completion of the emergency repairs.
No significant changes in the slope conditions have been observed since our initial stability
inspection on January 25, 2023.



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Highway 20 Sawnee Tank Site – Slope Failure                                                  April 5, 2023
Cumming, Forsyth County, Georgia


                                         SITE CONDITIONS

The Sawnee tank site at 921 Canton Highway is located approximately 2 miles northwest of
downtown Cumming. Two ground storage water tanks, with reportedly 500,000 and 800,000 gallon
capacities, are located southwest of the highway along a narrow, northeasterly-southwesterly
oriented ridgeline. The ridgeline slopes up from the highway at about elevation 1324 feet to over
1500 feet southwest of the site. Historic aerial photographs show the smaller easternmost tank was
apparently constructed between 1972 and 1974 and the second tank was constructed between 1974
and 1981. The assess road to the tanks extends about 700 feet directly off the highway to the
location of the tanks. Undeveloped woodlands are located along the ridgeline on the northwest side
and Blount Construction operates an asphalt plant along the southeast side. The property line along
the southeast side of the tank site is located within 10 to 15 feet from the edge of the tanks.

Site topography slopes upward to the southwest along the ridgeline and the indicated ground surface
elevations at the location of the tanks varies from about 1388 to 1390 feet. The natural slope along
the northwest side of the ridge appears to be 35 to 40 percent but is somewhat steeper immediately
adjacent to the tank pad. A paved trail is located on the northwestern slope 50 to 60 feet beyond the
tank pad.

The slope on the southeast side of the existing tanks, southwest of the slope failure, is very irregular
and broken up with benches, erosion gullies and various surface irregularities. The immediate slope
below the tanks above elevation 1326 to 1330 feet generally varies between 60 and 80 percent
(+1.67 to 1.25H:1.0V). The lower slope is somewhat flatter, with areas varying from about 25 to 70
percent. A relatively moderately sloping, 25 to 35-foot wide bench is located generally between
elevations 1320 and 1330 feet along most of the lower slope but narrows approaching the existing
failure scarp. Another smaller bench located between elevations 1302 and 1310 extends about 70
feet immediately southwest of the failure scarp. Total relief of the slope in this area is 92 to 94 feet,
varying from high elevation of 1388 and 1390 feet at the tank pad to 1296 feet at the toe on the
Blount Construction property. The top of the slope is located about 10 feet from the edge of the
tanks. The southeast slope, northeast of the slope failure, appears more uniform with slopes varying
approximately from near 100 percent (1.0H:1.0V) at the top to 50 percent (2.0H:1.0V) near the
bottom. The average slope of the entire hillside appears to be 60 to 65 percent and the total relief is
about 72 feet, varying from a high elevation of 1370 feet at the top to 1298 feet at the toe.

Based on the 1964 USGS Cumming, Georgia topographic map, a quarry was located on the adjacent
property southeast of the tank site. Review of city directories shows that Blount Construction
occupied this property in 1995. Historic aerial photos in 1988, 1992 and 1999 show similar land use,
indicating that Blount was the tenant to at least 1988. During the previous quarry operation and
subsequently during Blount’s occupation of the adjacent property, it appears the natural southeast
slope was excavated somewhat steeper than currently indicated. Fill appears to have been placed
back on the cut slope face to form the existing ground surface along the entire slope on the southeast
side of the tank site. Historic aerial photographs show various disturbances of the slope from 1955
through 1999. Following the previous grading activities, the slope appears to have revegetated
naturally with pine trees and sparse undergrowth.



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Our observations during several site visits show indications of long-term slope movements and
instability of the southeast slope below the tank site. Small, relatively shallow, slope failure scarps
and erosion gullies were observed at a number of locations along the slope face. During our initial
site visit, following the December 2022 slope failure, surficial failure scarps were observed at the top
of the slope directly below the existing water vault. The soil nail wall emergency slope stabilization
measure completed by GSI was installed through the old scarps at that location. A somewhat larger
scarp was observed on the slope between elevations 1340 and 1360, directly downhill of the tanks.
A large erosion gully exists below this scarp. In addition to these features, tree growth on the slope
indicates downhill movement or creeping of the hillside. The relevant tree growth includes curved
trunks, straight trunks leaning downhill, toppled trees, and a significant number of dead trees falling
over randomly about the slope. At least nine cast iron pipes and one steel beam were previously
installed vertically into the ground along the slope below the tanks, apparently in an attempt to
mitigate the slope movements.

The massive slope failure that occurred at the site during the night of December 6, 2022, resulted in
a large, relatively shallow scarp with translational movement that extended downward across the
entire length of the hillside from the top of the slope to the toe. Joint separation of the water pipe
serving the two tanks occurred during the failure and the contents of both tanks were discharged onto
the slope. Mud and forest landside debris were deposited over the lower part of the slope and across
the adjacent Blount Construction property beyond the toe.

Overburden soils in the upper portion of the failure were eroded and a very steep to near vertical
scarp was formed in the underlying natural soils at the top. The scarp at the top of the slope was
located 20 to 25 feet southeast of the 500,000 gallon tank. Visual observation during our initial site
visit indicated undisturbed residual soils, partially weathered rock (PWR) or rock conditions were
exposed in the failure scarp.

As noted in the previous section, GeoStabilization International performed emergency repairs of the
upper part of the slope failure. The repair work was initiated during the week of December 19, 2022,
and was completed about January 17, 2023. The repairs consisted of the installation of an
approximate 100-foot long, 10-foot high permanent, soil nail wall with shotcrete facing. Vertical,
grouted micropiles were initially installed on approximate 18-inch centers along the back of the
planned wall location. The micropiles extended about 20 feet below the ground surface into
undisturbed natural soils. Three rows of soil nails, typically 18 feet in length, were then installed
prior to placement of the shotcrete facing. Horizontal drains were incorporated in the wall typically
at a spacing of 10 feet, center to center.

An Environmental Data Resources, Inc. (EDR) Aerial Photo Decade Package, Google Earth aerial
photos, EDR City Directory Image Report and historic USGS topographic maps are included in
Appendix A – Historic Site Information Data. The Topography Exhibit drawing, recent pertinent
photographs and GSI’s Slope Stabilization Plans, dated December 12, 2022, showing current site
topography, site conditions since the December slope failure and emergency slope repair details
described in this section are enclosed in Appendix B – Existing Site Conditions Documentation.




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                     GEOTECHNICAL ASSESSMENT METHODOLOGY

GeoSystems performed this geotechnical assessment based on our prior experience, knowledge, and
professional judgment consistent with the standard of care and customary practice provided by
geotechnical engineers practicing in the same geologic setting under the same or similar
circumstances for projects of this type. Our assessment focused on the City’s Sawnee tank site and
the hillside located along the southeast side of the tanks on the adjacent property. Our field
exploration was limited due to personal safety concerns and lack of access for conventional
geotechnical exploration equipment and methods due to the existing site conditions.

Available property documents and published information were initially reviewed to determine
general site conditions, historic land uses and geology of the site. Included were current and past
USGS topographic maps, geologic reports/maps, historical aerial photographs of the site area and
historic city directories. Environmental Data Resources, on behalf of GeoSystems, provided an
Aerial Photo Decade Package and City Directory Image Report for the site. Aerial photographs of
the site and surrounding area flown in 1938, 1951, 1955, 1972, 1974, 1981, 1988, 1999, 2007, 2010,
2015 and 2019 were provided by EDR. Additional historic aerial photographs were reviewed online
and 1992, 2008 and 2018 photos from Google Earth were downloaded for this report. Property
information for the adjacent 911 Canton Highway parcel was researched through the Forsyth County
Board of Tax Assessors web site public records database.

Field Exploration/Laboratory Testing

Subsurface conditions at the site were mainly investigated by drilling six soil test borings (B-1
through B-6) at the approximate locations shown on the enclosed Boring Location Plan (Figure 2).
Figure 2 was prepared from the Topography Exhibit drawing, dated February 24, 2023, provided by
CEC. A GeoSystems engineer established the boring locations in the field by measuring distances
and angles from existing site features. Boring elevations are the reported surveyed elevations
rounded to the nearest 1.0-foot.

All soil sampling and standard penetration testing were performed in general accordance with ASTM
standard D 1586. The borings were advanced by mechanically rotating hollow-stem augers into the
ground and soil samples were obtained at regular intervals with a standard 1.4-inch I.D., 2-inch O.D.
split-barrel sampler. Standard penetration testing was conducted at regular intervals in the borings to
evaluate relative density or consistency of the soils and obtain samples for classification. At each
sample interval, penetration tests were performed by first seating the split-spoon sampler 6 inches to
penetrate any loose cuttings and then driving an additional foot with blows from a 140-pound
hammer falling 30 inches. The number of blows required to drive the sampler the final foot was
recorded and is designated the "standard penetration resistance," or "N" value. Penetration
resistance, when properly evaluated, is an index of the soil's strength.

Borings B-1 through B-4 were advanced to termination depths varying from 10 to 20 feet below the
existing ground surface. Borings B-5 and B-6 were extended to hollow-stem auger refusal at depths
of 27 and 48 feet, respectively. In addition to the split-spoon samples from the borings, one
undisturbed Shelby-tube sample of indicated medium dense silty sand was recovered at a depth of 5


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to 7 feet in an auger boring offset slightly from the original boring B-6 location. A laboratory
consolidated undrained (CU) triaxial test (ASTM D4767) was performed on the undisturbed soil
sample to help estimate insitu shear strength of the overburden soils.

The split-spoon soil samples collected in the field were first logged by the driller and then returned
to our laboratory. All samples recovered during the field investigation were visually classified in the
laboratory by a geotechnical engineer under the direction of a senior geotechnical engineer. In
addition to visual classifications, limited laboratory index testing was performed on ten split-spoon
samples to confirm the engineer’s descriptions. The laboratory soil index testing consisted of
particle size analysis (ASTM D6913) and Atterberg limits (ASTM D4318).

The enclosed test boring records represent our interpretation of the field conditions based on the
driller's field logs and laboratory examination of the soil samples. Included are soil descriptions and
unified classifications, graphical plots of the standard penetration resistances, and groundwater
conditions encountered at the time of drilling. The lines designating the interfaces between various
strata represent approximate boundaries only, as transitions between materials may be gradual.

In addition to the soil test borings, six hand auger borings (HAB-1 through HAB-6) were drilled into
the subsurface at test locations on the existing slope, west of the failure scarp. The borings were
extended to depths varying from a few inches to a maximum of 8.4 feet below the existing ground
surface. Subsurface materials encountered in the hand auger borings were described from visual
examination of the cuttings brought to the ground surface in the auger bucket. The boring data are
presented on the attached Hand Auger Boring Data Summary.

Brief descriptions of the field and laboratory procedures are presented in Appendix C. The boring
location plan, subsurface profiles, soil test boring logs and hand auger boring data summary are
included in Appendix D. The laboratory test data are attached in Appendix E.

Geophysical Survey

A geophysical survey of the existing slope southwest of the failure scarp, where soil test borings
could not be completed, was conducted by Collier Geophysics, LLC. The geophysical survey
consisted of two P-wave velocity (Vp) and shear-wave velocity (Vs) lines to characterize the
subsurface conditions along the slope. One line extended approximately 200 feet from near the top
of the slope adjacent to the tank site to near the toe of the slope. The second line was about 300 feet
in length and extended from across the tank pad at the crest of the hill to near the toe of the slope on
the southeast side. The Geophysical Letter Report, dated March 17, 2023, describing the survey
procedures, and presenting Collier’s results is attached in Appendix F of this report.




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                                   AREA AND SITE GEOLOGY

Geologically, the site is in the northern section of the Piedmont Physiographic Province, an area
underlain by ancient igneous and metamorphic rocks of the late Precambrian to early Paleozoic ages.
Published geologic mapping indicates the site is an area where the Chatttahoochee Palisades
Quartzite (cpq) rock unit has been mapped. Rocks in the Chatttahoochee Palisades Quartzite unit
consist mainly of quartz schist. Schist is a strongly foliated crystalline rock formed by dynamic
metamorphism.

The origin of the Paleozoic rocks, as sediments, has been obscured, due to their age and repeated
cycles of weathering, metamorphism, folding, faulting, and injection with younger Paleozoic
granites and Triassic diabase dikes. All of these rocks have weathered in place and are covered by a
mantle of residual soils of varying thickness. Residual soils are formed insitu by chemical alteration
of the underlying rocks. Normally, the weathering is most advanced near the ground surface and
decreases with depth until unweathered parent rock is encountered. A transition from clay to silt to
silty sand to partially weathered rock to hard rock is typical; however, this order of weathering is not
always present. It is not uncommon to find layers or zones of partially weathered rock (PWR) or
relatively unaltered rock pinnacles and boulders within the soil mantle or weathered rock layers
within the underlying upper parent rock mass. The naturally developed soil profile may be changed
by erosion and/or man's grading activities, so that the upper more weathered zones may be
completely stripped away. Also, residual soils may be covered by washed-in alluvial soils or
manmade fill, or both.

The deeper residual materials retain the relict structure of the original rock. Partially weathered rock
materials have the appearance of sands in which the sand grains are individual mineral crystals that
occupy the same positions as in the unaltered rock. Individual crystal breakdown occurs with further
weathering and sandy silts or silty sands are formed. The original structure of the parent rock is
preserved in these soils; however, the crystalline structure is altered or destroyed. Residual soils
characterized by preservation of the relict structure that was present in the unweathered rock are
termed saprolites.

Groundwater in the Piedmont generally occurs under water table conditions as a result of infiltration
of rainwater and surface water through the somewhat permeable overburden. Groundwater occupies
pore spaces and other secondary openings in the soil overburden and weathered rock and structural
discontinuities, such as compositional layering and joints, in the rock. During infiltration, soil
moisture and pellicular demands are first satisfied and any excess water percolates by gravity and
pressure differences to the water table. Recharge also occurs by direct entry into structural
discontinuities along saprolite or rock outcrops. Discharge takes place through springs and seeps in
valley floors. In this geologic setting, the configuration of the groundwater table is generally
expected to be a slightly subdued replica of the ground surface.




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                                   SUBSURFACE CONDITIONS

Soil Test Borings

The soil test borings encountered predominantly residual soils and partially weathered rock to boring
termination or auger refusal depths. A 3-foot thick layer of possible fill soil was also encountered at
the ground surface in borings B-1 and B-6. Fill is described as any material placed by man and the
possible fill layer appears to be soils disturbed by recent rerouting of piping at the site. The possible
fill consisted of loose silty sand (SM) with rock fragments.

Residual soils and partially weathered rock described in the previous site geology section, were
encountered below the possible fill in borings B-1 and B-6 and below the ground surface in the
remaining borings. The residual soils extended to the top of PWR at maximum depths of 20 and 38
feet in borings B-5 and B-6. The residuum was less than 8 feet deep in all remaining borings. The
majority of the residual soils were classified as medium dense to dense silty sand (SM) and fine to
coarse sand (SW), but some stiff to hard sandy silt (ML) and firm sandy clay (CL) were also
identified. Penetration resistances recorded in the residual soil stratum ranged from a low of 8 to a
high of 77 blows per foot (bpf) but were generally between 12 and 30 to 40 bpf.

Partially weathered rock (PWR) is residual material which can be penetrated by a power auger and
has standard penetration resistances greater than 100 blows per foot. A continuous 8 to 12-foot layer
of PWR was encountered below residual soils or from the ground surface to boring termination or
auger refusal depths at all the boring locations. Borings B-1, B-2, B-3 and B-4 were terminated in
PWR at depths varying from 10 to 20 feet. Partially weathered rock continued to refusal depths of
27 and 48 feet, respectively, in borings B-5 and B-6. The PWR is similar to the residual soils and
was largely described as very dense silty fine to coarse sand (SM) or very dense fine to coarse sand
(SW) with rock fragments.

Auger refusal is a designation applied to any material that cannot be further penetrated by the soil
drilling process and is normally indicative of a very hard or very dense material, such as boulders,
rock lenses, or the upper surface of bedrock. At this site, auger refusal was encountered in borings
B-5 and B-6 at the depths below the ground surface noted above. Rock coring measures are required
to penetrate and sample refusal material to determine the material character and continuity. Rock
coring was not performed during this assessment; however, refusal of the hollow-stem augers at this
site appears to be the top of bedrock.

Groundwater was not encountered in the soil test borings drilled at the site at the time of the field
exploration. We note that depth to the water table is subject to climatic and seasonal variations and
groundwater levels at other times and other locations may be different than the conditions indicated
by this assessment.

Hand Auger Borings

The hand auger borings located on the existing slope encountered subsurface conditions consisting
of apparent fill. Fill materials were initially encountered at all boring locations at the ground surface


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and appeared to continue to termination or refusal depths varying approximately from 1.6 to 8.4 feet
below the surface. Boring HAB-3 encountered auger refusal at a maximum depth of 1.6 feet on
rocks or other obstructions in the fill. Several attempts were made at this location but the boring
could not be extended further. The remaining borings were terminated at depths ranging from 3.4 to
8.4 feet due to difficult gravelly or rocky drilling conditions. The fill consisted of a loose upper
layer classified generally as dark gray to black silty sand and gravel (SM/GM) containing rock
fragments, and apparent asphalt waste. Below this layer, the fill appeared somewhat cleaner, but still
contained various quantities of rock fragments, asphalt, roots, wood fragments and other unidentified
organic matter.

Laboratory Test Results

Laboratory particle size analysis, Atterberg limits tests, and one consolidated undrained triaxial shear
strength (CU) test were performed on selected split-spoon samples and the undisturbed Shelby-tube
sample of residual soils recovered from the soil test borings. The laboratory test data show the
natural soils consist of silty sands (SM) and sandy silts (ML) with some sandy clay (CL) near the
ground surface. The percentage of fines (silt and clay) in the upper soils ranged approximately from
35 to 67 percent. Plastic limits (PL) of 24 and 36 percent and liquid limits (LL) of 43 and 48 percent
were reported for two samples of CL and ML soils collected from borings B-4 and B-5. Below a
depth of about 10 to 15 feet, the soils become more sandy and gravely with the percentage of fines
typically ranging from about 16 to 21 percent. However, one sample collected from boring B-6 at
23.5 to 25 feet contained 40.3 percent fines. Most of the deeper soils appear to be non-plastic.
Effective shear strength values of 105 psf for cohesion (c’) and 38.7 degrees for the angle of internal
friction (φ’) are indicated for medium dense silty sand, based on the one triaxial test of residual soil
collected at a depth of 5 to 7 feet at the location of boring B-6.

Geophysical Survey

The enclosed geophysical report by Collier discusses the results of P-wave velocity (Vp) and shear-
wave velocity (Vs) profiles conducted along two lines located in the area southwest of the failure
scarp at the site. One line (Profile 1) extended approximately 200 feet from near the top of the slope
adjacent to the 500,000 gallon tank to near the toe of the slope. The second line (Profile 2) was
about 300 feet in length and extended from across the tank pad at the crest of the hill between the
two tanks to near the toe of the slope on the southeast side.

The quality of the data acquired during the survey was good; however, we note that due to
geophysical survey limitations and since specific validation of the seismic data was not confirmed by
soil test borings along the majority of the profiles, interpretation of the data was likely more difficult
and uncertain, and interpretation of the various subsurface horizons remains somewhat speculative.

The subsurface conditions characterized by the survey data included overburden soils, partially
weathered rock and unweathered rock. The overburden soils consist of undisturbed residual soils
and fill that was previously placed at the site during reconstruction of the southeast slope. The
existence of the fill was confirmed by our visual observations at the site and the shallow hand auger
boring data.


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The geophysical data indicates the overburden soils are significantly heterogenous with intermittent
zones of varying Vp and Vs values. The Vp and Vs values of the less competent, apparent fill
overburden, appear to be typically less than 3000 and 400 ft/sec, respectively. The depth of the less
competent overburden below the ground surface is variable but generally averages about 10 feet. In
the lower part of the slope, near the toe, the less competent overburden appears to be 20 feet or more
in depth.

The top of partially weathered rock was interpreted to correspond to approximate values 4500 ft/s
(Vp) and 800 ft/s (Vs) at a depth of approximately 20 feet below the surface. The thickness of the
PWR stratum ranges approximately from 15 to 40 feet and appears greatest at the top and bottom of
the slope along Profile 2. Unweathered rock was interpreted to correspond to Vp values greater than
approximately 6500 ft/s and Vs values greater than approximately 1200 ft/s. The top of rock
generally follows surface topography at depths of approximately 40 to 50 feet below ground.




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City of Cumming, Georgia                                                    GeoSystems Project No. 22-2875
Highway 20 Sawnee Tank Site – Slope Failure                                                   April 5, 2023
Cumming, Forsyth County, Georgia


                          DISCUSSION AND RECOMMENDATIONS

Slope Stability Analysis

A computerized stability analysis was conducted to evaluate the stability of the existing slope and
provide a basis for an explanation of the December 2022 failure. The computer program
STABLPRO for Windows, which enhances the STABL program originally developed at Purdue
University was used for the analysis. This program performs two-dimensional limit equilibrium
computations of the factor of safety (FOS) for a layered slope by balancing sliding and resisting
forces along semi-randomly generated surfaces cut through sections of the slope. Slope stability
safety factors were determined for two-dimensional cross-sections developed from the slope
geometry and generalized subsurface conditions. The analyses were performed under static loading
conditions. Vibrations from earthquakes or other induced dynamic forces were not evaluated.
Dynamic loading conditions would reduce the embankment slope stability safety factors below those
based on static loading conditions.

The Simplified Bishop method was initially used to generate relatively small shallow circular failure
surfaces on the slope face that could trigger more massive translational movements along planes of
weakness paralleling the slope. This method satisfies vertical force equilibrium for each slice and
overall moment equilibrium about the center of the circular trial forces. Slope stability FOSs for
circular failures were evaluated for the upper steeper portion of the slope generally above elevation
1340 feet. Safety factor values for failures limited to the slope face, below the top of slope were
initially determined. Additional FOSs were determined for failure circles extending beyond the top
of slope underneath the tanks. Specified failure surface searches were also performed to determine
stability safety factors for translational slides along several sections of the slope and for the entire
slope. Translational failures of the slope were modeled along the indicated interface between the
shallow fill on the surface and the underlying residual soils. The interface is generally a planar
surface prone to sliding.

Slope stability depends on many factors, with the slope angle and strength of the soils being of
primary importance. Soil strengths used in this analysis were estimated from our previous
experience, correlations with standard penetration test results and seismic velocity data, limited
laboratory shear strength data from on test and the soil classification test results. Our analysis used
the following generalized effective shear strength values for the angle of internal friction (φ’). A
zero value for soil cohesion (c’) was assumed in all cases.

                                                               FRICTION
                                        SOIL TYPE              ANGLE (φ’)
                                                                Degrees
                                  Fill                            25
                                  Undisturbed residual soils      34
                                  Partially Weathered Rock        45




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Cumming, Forsyth County, Georgia


Although interpretation of the existing slope conditions and the assumed soil strength parameters
allow a conventional evaluation of the slope stability, there is a great degree of uncertainty in the
results due to limited site-specific characterization of the subsurface conditions along the slope face
and soil strength test data. However, the stability analysis likely indicates the range of safety factors
against failure of the slope that exists for the various conditions.

In order to generate representative critical failure surfaces and factors of safety, we performed
multiple computerized analysis runs by varying the defined limits of the trial failure surfaces along
two representative slope profiles for the assumed subsurface conditions. The final stability analysis
reports for three critical cases (Profile D-D’ Runs 1, 2 and 5) are enclosed in Appendix G for your
reference. We can provide the reports for all of the runs for your reference, if required. The
graphics for each of the circular failure cases show 1) the most critical failure surface, 2) critical plus
the next 10 most critical, and 3) all surfaces analyzed, along with the corresponding factor of safety
for the most critical surface. Graphics for the translational failures indicate a single location of the
specified failure surface. The following table summarizes the stability analysis results for all our
runs:

                                    STATIC
             PROFILE       RUN                   NOTES                    FAILURE TYPE
                                      FOS
                                                                         Shallow Circular
                C-C’         1      0.92-1.03       1
                                                                  Above El. 1340 to top of slope
                                                                         Shallow Circular
                             2      1.12-1.59       2       Above El. 1340 exiting from the top of slope
                                                                   through the tank foundation
                                                                           Translational
                             3        0.99          4
                                                                         Above El. 1330
                                                                           Translational
                             4        1.07          3
                                                                         Above El. 1308
                                                                           Translational
                             5        1.54          6
                                                                 Entire fill slope above El. 1296
                                                                         Shallow Circular
                D-D’         1      0.82-0.90       1
                                                                Above El. 1340 to the top of slope
                                                                         Shallow Circular
                             2      1.08-1.24       2       Above El. 1340 exiting from the top of slope
                                                                   through the tank foundation
                                                                           Translational
                             3        0.99          3
                                                                         Above El. 1310
                                                                           Translational
                             4        0.70          5
                                                                         Above El. 1340
                                                                           Translational
                             5        0.98          6
                                                                 Entire Fill Slope above El. 1296
Notes:
    1.   Shallow critical FOS circles in surficial fill layer.
    2.   Shallow critical FOS circles limited to termination beyond top of slope.
    3.   Critical FOS along interface of fill and residual soils above elevation 1308-1310 feet.
    4.   Critical FOS along interface of fill and residual soils above elevation 1330 feet.
    5.   Critical FOS along interface of fill and residual soils above elevation 1340 feet.
    6.   Critical FOS of entire slope along interface of fill and residual soils above elevation 1296 feet.




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Highway 20 Sawnee Tank Site – Slope Failure                                                  April 5, 2023
Cumming, Forsyth County, Georgia


Our analysis indicates generally unstable slope conditions against small circular failures on the slope
face and large translational failures along the fill/residual soil interface. Factor of safety values
varying from slightly higher than 1.0 to less than 1.0 were generally found for most of these
conditions. Somewhat higher values were found for circular failure surfaces extending underneath
the tanks beyond the top of the slope. Factors of safety for these failures ranged from 1.12 to 1.59
for Profile C-C’ and 1.08-1.24 for D-D’; however, FOSs of failure circles intersecting the tank
foundations were greater than 1.4 for Profile C-C’ and 1.16 for D-D’. A minimum safety factor
value of 1.3 is generally satisfactory for the design of slopes supporting tanks and similar structures.

Slope Stability Discussion

The massive slope failure that occurred at the site in December 2022 is characteristic of translational
landslides that occur when unstable conditions are present, and the sliding mass moves downward
along a planar surface. In this case, previous excavations of the southeast hillside initially steepened
the slope and increased the stresses in the soils along the slope. Partial restoration of the site was
attempted by filling with asphalt waste, soil, and other undocumented materials back on the face of
the cut slope; however, it appears this was done haphazardly and without properly tying the fill into
the natural residual soils along the face of the slope. The interface between the fill and the
underlying residual soils formed a planar, steeply sloping surface susceptible to sliding, particularly
if saturated with water. In addition, the fill materials do not appear to be of good quality and proper
compaction of these materials could not have been accomplished due to the site conditions. As a
result, a weak layer of steeply sloping fill on the surface of the slope was created in which failure is
likely to occur.

Our evaluation shows that instability of the southeast slope results in shallow circular failures on the
slope face, similar to the old failure scarps previously observed at the site, and translational slides
generally along the fill/residual soil interface. It is very difficult to determine the exact cause of a
slope failure, as a single factor or a combination of countless factors can result in a loss of soil shear
strength or an increase in the soil stress causing unstable conditions. Instability of the slope at this
site, however, can be attributed to the excessive steepness of the slope, relatively weak or poor soil
conditions within the overlying fill layer, a planar surface existing along the fill/residual soil
interface susceptible to sliding and saturation of the soils on the slope with water.

Due to long-term movements or creep of the shallow overburden soils at the site, the pipe supplying
water to the two tanks along the top edge of the slope progressively shifted downhill. Over time the
pipe movements likely caused leaking of water from joints, increasing the water content of the soils,
adding weight to the slope and lowering the strength of the overburden soils. In addition to water
leaks from the supply pipe, over 3 inches of rainfall was reported on December 5 and 6, 2022, prior
to the slope failure, by the USGS Big Creek gaging station near Cumming. The rainfall caused
further saturation of the soils at the site. All these factors contributed to ultimate failure of one pipe
joint and release of over 1.3-million gallons of water from the tanks onto the slope, resulting in the
massive “mudslide” type of slope failure at the site.




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Cumming, Forsyth County, Georgia


In our opinion, there is a relatively high risk of failure of the southeast slope at any time during a
perfect combination of the conditions described above or initiated by heavy rains, freeze-thaw,
earthquakes or other triggering events. Risk of damage to the tanks or partial loss of foundation
support due to progressive slope failures at the site is low to moderate. The smaller, easternmost
tank is most susceptible to damage due to relatively low factors of safety for some failure circles
intersecting the tank foundation. Complete failure of the tanks appears slight due to the relatively
good, stable foundation support conditions consisting of undisturbed residual soils and shallow
partially weathered rock.

Slope Repairs

We recommend the massive slope failure at the site be repaired by reconstructing the hillside to a
slope no steeper than 2.0H:1.0V. In order to reconstruct the slope, all loose soils and landside debris
in the area to be repaired must initially be removed prior to placement of any fill. The project
geotechnical engineer should observe the conditions after the initial site preparation to confirm
conditions are satisfactory for placement of the new engineered fill.

All engineered fill soil required for the slope repair should consist of low to moderately plastic soils
that are free of deleterious materials and rocks larger than 3 inches in diameter. All fill soils must be
evaluated by the project geotechnical engineer in advance of placement to confirm acceptance.
Collection of a sufficient number of representative borrow samples must also be completed prior to
construction in order to allow sufficient time for the necessary laboratory testing and engineering
evaluation.

All engineered fill soil should be placed in maximum 6 to 8-inch lifts, loose measure, and compacted
to at least 95 percent of the maximum dry density, as determined by the standard Proctor compaction
test (ASTM D-698). Soil moisture during placement should be maintained within +3 percent of the
standard Proctor optimum moisture content.

Engineered fill should not be placed on a frozen subgrade and no snow, ice, or other frozen material
can be mixed into the fill soil. The fill should be placed in individual horizontal fill lifts and
compacted with sheep-foot roller type compaction equipment that are fitted with projecting studs
that penetrate into the fill. The surface of each fill lift must be left rough to provide adequate
bonding with subsequent fill lifts; however, the fill surface should be sealed at the end of each work
day by rolling with rubber-tired or smooth drum compaction equipment. The sealed surface must
then be scarified at the beginning of the next work day, before the placement of any subsequent lifts
of fill. If the top surface of a preceding layer of compacted fill becomes too dry to permit a suitable
bond with new fill placement, the preceding layer should either be removed or scarified and
moistened to an acceptable level prior to any additional fill placement.

Benching or keying of the new engineered fill into the existing slope is critical in order to bond the
fill to the existing slope and reduce the risk of possible future slope stability problems. Compaction
of fill on the existing slope will not be possible without benching and inadequately compacted fill is
susceptible to erosion and sliding failure. The interface between the existing slope and the new fill
also creates a potentially weak continuous plane, which is also susceptible to translational sliding


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shear failure. Benching is a “stair-step” method of construction, which improves stability by
hindering the development of a shear plane along the interface.

Benching is accomplished by cutting or notching horizontal benches into the existing slope with a
dozer blade or front end loader bucket. The procedure is started by excavating a typical 2 to 3-foot
(maximum) deep thrust trench or keyway into competent residuum at the toe of the new fill slope.
The keyway is then backfilled and compacted to the level of the next slope bench. Benches are cut
into the existing slope to a sufficient width to bond the new fill to the existing slope and to
accommodate operation of the compaction equipment and proper placement and compaction of the
new engineered fill. The maximum width and height of the benches are limited to assure the slope
remains stable during construction. The benching process is repeated up the slope until reaching the
top.

During the fill placement, monitoring is required to confirm proper benching into the existing slope,
proper fill placement measures are being used, and the degree of compaction and moisture content
requirements are achieved throughout the entire engineered fill placement. One to two in-place
density tests should be performed for each vertical 2 feet of fill placed. Any areas that do not
comply with the compaction requirements during the earthwork construction should be re-compacted
until compliance is met.

Instrumentation

Considering the unstable nature of the southeast slope and possible impact of slope failure on the
existing tanks, we recommend installation of inclinometers at the site to provide long-term
monitoring of lateral earth movements. Installation of these instruments will offer a means for
additional characterization of the subsurface conditions and allow a more rational evaluation of the
slope stability. At least three in-place inclinometers should be installed along the top edge of the
southeast slope on the tank site. If possible, additional inclinometers should be installed on the
adjacent property slope in line with the tank site instruments. The inclinometers will be remotely
monitored continuously for the magnitude, direction, and rate of subsurface lateral movements.
Real-time monitoring will provide early warning of impending slope failure and determine the need
for any corrective actions required to protect the tanks.

Installation of the in-place inclinometers will include placement of a string of sensors permanently in
a special-purpose grooved casing installed vertically in a borehole drilled into PWR or rock below
the anticipated area of movement. The internal grooves in the casing control the orientation of the
inclinometer sensors or a wheeled inclinometer probe, used to determine the initial position of the
casing. The sensors are placed at regular intervals in the casing and are connected to a data
acquisition system that continuously monitors movements and can trigger an alarm if the rate of
movement or amount of displacement exceeds preset values.




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Cumming, Forsyth County, Georgia


                         QUALIFICATION OF RECOMMENDATIONS

This report has been prepared for the exclusive use of Civil Engineering Consultants and the City of
Cumming. Conclusions and recommendations in this report were based on the available site
information, our observations of the site conditions, interpretation of the soil test boring and
laboratory test data and our experience with similar site and subsurface conditions. We note that
regardless of the thoroughness of a geotechnical exploration, there is the possibility that conditions
between test locations will differ from those at the actual test locations, that conditions are not as
anticipated, or that the construction process has altered the soil conditions. If conditions differing
from those anticipated are encountered during the course of the slope repairs, GeoSystems should
review the changed conditions to develop any required revisions to our recommendations.

Our professional services have been performed, our findings derived, and our recommendations
prepared in accordance with generally accepted geotechnical engineering principles and practices.
This warranty is in lieu of all other warranties either expressed or implied. This company is not
responsible for the conclusions, opinions or recommendations of others based on these data. If the
background or site conditions information described in this report is incorrect, we request the
opportunity to review our recommendations in consideration of the correct data.




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                         APPENDIX A

       HISTORIC SITE INFORMATION DATA
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                   City Directory Images
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                            CANTON HWY       2017

759    LANIER AUTO REPAIR & RESORATION LL
       UHAUL
770    CUMMING FIRST UNITED METHODIST
803    STRAYHORN, WILLIAM J
804    MILLER, WYNETTE S
823    LUCHETTI, JOHN J
911    BLOUNT CONSTRUCTION CO INC
1107   CUMING HOME MINISTRIES
       DUNKLEY, JOHN
1110   WALLACE, BILLY C
1133   MARTIN, SHERMAN E
1220   MARTINEZ, JOSE R
1240   CHUMLEY, JACKY M
1241   LEAPHART, EDWARD W




                                                         7209715.2 Page: A1
           Target Street     Cross Street          Source
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                           CANTON HWY       2014

759    LANIER AUTO REPAIR & RESORATION LL
       UHAUL
770    CUMMING FIRST UNITED METHODIST
       CUMMING FIRST UNITED METHODIST PRESC
779    STRAYHORN, WILLIAM D
781    OCCUPANT UNKNOWN,
803    STRAYHORN, WILLIAM J
804    MILLER, WYNETTE S
823    LUCHETTI, JOHN J
911    BLOUNT CONSTRUCTION CO INC
993    HAMPTON, ERIC
1011   BUILDING BLOCKS CHILD DEVELOPMENT CE
1107   BARRY, ELLIS C
1110   WALLACE, BILLY C
1133   MARTEN, MARY L
1220   OCCUPANT UNKNOWN,
1230   OCCUPANT UNKNOWN,
1240   CHUMLEY, JACKY M
1241   BLANCO, ROBERTO




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                           CANTON HWY       2010

759    B & L AUTOMOTIVE INC
       UHAUL CO
779    STRAYHORN, WILLIAM D
781    OCCUPANT UNKNOWN,
803    STRAYHORN, WILLIAM J
804    MILLER, WYNETTE S
823    BURT, NICOLE
840    OCCUPANT UNKNOWN,
911    BLOUNT CONSTRUCTION CO INC
1011   BUILDING BLOCKS CHILD DEVMNT
1021   ANDERSON, MARVIN S
1110   WALLACE, BILLY C
1133   MARTIN, SHERMAN E
1210   OCCUPANT UNKNOWN,
1220   SMITH, ROBERT
1230   MONPIERE, RICARDO
1240   CHUMLEY, JACKY M
1241   OCCUPANT UNKNOWN,




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                           CANTON HWY       2005

770    CUMMING FIRST UNITED METHODIST PRESC
779    STRAYHORN, WILLIAM D
781    MARTINEZ, EDMA
803    STRAYHORN, WILLIAM D
804    MILLER, LEAMON E
823    TAPP, ROY L
911    BLOUNT CONSTRUCTION CO INC
1011   DISCOVERY POINT CHILD DEV CENTER
1021   ANDERSON, MARVIN S
1104   WILLARD, ZEKE
1106   PAYTON, STEVE
1107   MULLIS, TERRI E
1110   WALLACE, BILLY C
1133   MARTIN, SHERMAN E
1210   LOMAX, SCOTT S
1220   SARMIENTO, ALICIA
1230   THAXTON, DWIGHT D
1240   CHUMLEY, JACKY M
1241   PITTS, LAURI A




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                           CANTON HWY       2000

759    NORTH GEORGIA RECYCLING
770    CUMMING FIRST UNITED METHODIST CHURCH
       CUMMING FIRST UNITED METHODIST PRESCHOOL
779    STRAYHORN, WILLIAM
781    STONE, NELLIE M
803    STRAYHORN, WILLIAM
804    ALVIS, STEWART C
823    TAPP, ROY L
840    MELTON, JAMES B
843    FORSYTH COUNTY OF ROADS & BRIDGES
915    BOLING, LOIS
1106   CHILTON, N
       MERCK, JAMES
1107   BABB, THOMAS G
1110   WALLACE, BILLY C
1133   MARTIN, SHERMAN
1170   WALTON, BARRY W
1204   FORSYTH CNTY OF GEORGIA FOR COMM FORSYTH FOR UNIT
       GEORGIA STATE GOVERNMENT FORESTRY COMMISSION
1210   REAGAN, CAROLYN
1220   DOMINGUEZ, MERY
1230   OCCUPANT UNKNOWN,
1240   CHUMLEY, JACKY
1241   WALKER, GREG




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           Target Street     Cross Street          Source
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                           CANTON HWY       1995

759    M & M RECYCLING
770    CUMMING UNITED METH PRE SCHOOL
       CUMMING UNITED METHODIST CHR
779    STRAYHORN, WILLIAM
781    STONE, NELLIE M
794    ALVIS, STEWART C
803    STRAYHORN, WILLIAM
804    ALVIS, STEWART C
823    TAPP, ROY L
840    OCCUPANT UNKNOWNN
911    BLOUNT CONSTRUCTION CO
915    BOLING, LOIS
1011   LITTLE PEOPLE & FRIENDS INC
1021   BURNS, GRAYSON
1106   OCCUPANT UNKNOWNN
1107   THORN, PAIGE
1110   WALLACE, BILLY C
1133   MARTIN, CLYDE E
1204   FORESTRY COMMISSION
1210   WALLACE, GREG E
1220   HALL, LEIGH A
1230   HANSARD, BARBARA
       MARTIN, MARCUS
1240   CHUMLEY, JACKY
1241   PITTS, MACK E




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           Target Street     Cross Street          Source
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                           CANTON HWY       1992

760    HOLBROOK, R C
804    ALVIS, STEWART C
840    MELTON, JAMES B
1107   BABB, THOMAS G
1110   WALLACE, BILLY C
1133   MARTIN, EDDIE
1230   HANSARD, BARBARA
       MARTIN, MARCUS
1240   CHUMLEY, JACKY
1250   HEAD, ARTHUR




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USGS - CUMMING QUADRANGLE
1964
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USGS - CUMMING QUADRANGLE
1999
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                         APPENDIX B

EXISTING SITE CONDITIONS DOCUMENTATION
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6ORSH )DLOXUH    6ORSH )DLOXUH 
                                                                                                                        Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 61 of 155




([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH    ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH 
                                                                                                                        Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 62 of 155




([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH    ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH 
                                                                                                                        Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 63 of 155




([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH    ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH 
                                                                                                                        Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 64 of 155




([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH    ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH 
                                                                                                                                 Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 65 of 155




6WHHO %HDP LQ ([LVWLQJ 6ORSH 6RXWKZHVW RI )DLOXUH    &DVW ,URQ 3LSHV LQ ([LVWLQJ 6ORS 6RXWKZHVW RI )DLOXUH 
Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 66 of 155




        &DVW ,URQ 3LSHV LQ ([LVWLQJ 6ORSH 6RXWKZHVW RI )DLOXUH 
6WHHO %HDP LQ ([LVWLQJ 6ORSH 6RXWKZHVW RI )DLOXUH   ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH
                                                                                                     Case 1:23-mi-99999-UNA Document 2545-7 Filed 08/09/23 Page 67 of 155




   ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH   ([LVWLQJ 6ORSH &RQGLWLRQV 6RXWKZHVW RI )DLOXUH
6RLO 1DLO :DOO ,QVWDOOHG E\ *6,   6RLO 1DLO :DOO ,QVWDOOHG E\ *6,
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6RLO 1DLO :DOO ,QVWDOOHG E\ *6,   6RLO 1DLO :DOO ,QVWDOOHG E\ *6,
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                         APPENDIX C

    FIELD AND LABORATORY PROCEDURES
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                                GEOSYSTEMS ENGINEERING

           STANDARD FIELD AND LABORATORY TESTING PROCEDURES


Soil Test Boring

Soil sampling and penetration testing are performed in general accordance with ASTM
Designation D 1586. Borings are usually advanced either by mechanically twisting continuous
steel hollow-stem auger flights into the ground or by wash boring using roller cone or Hawthorne
bits. At regular intervals, soil samples are obtained with a standard 1.4-inch I.D., 2-inch O.D.,
split-spoon sampler. The sampler is first seated 6 inches into the bottom of the hole to penetrate
any loose cuttings and then driven an additional foot with blows of a 140-pound hammer falling
30 inches. The number of hammer blows required to achieve the final foot of penetration is
recorded and is designated the "standard penetration resistance." Penetration resistance, when
properly evaluated, is an index to the soil strength, density and ability to support foundations.

Groundwater levels are normally determined by the driller in conjunction with the field
investigation and are noted on the drilling records. These levels indicate the approximate location
of the hydrostatic water table at the time of observation. Generally, water levels are reported at
the time of boring and at subsequent times. The time of boring water level is detected as the
drilling tools are advanced by changes in the drilling rate, soil sample moisture conditions, water
or mud on the drill rods, and moisture conditions of the borehole drill cuttings. Additional
groundwater levels are typically obtained at various times after boring to minimize any disruption
by the drilling operations and to allow the water table to stabilize. Normally, a time lag of at least
24 hours is required to permit stabilization of the water table. A longer time period may be required
in low permeability (clayey) soils. Water table measurements are taken in open boreholes using a
weighted measuring tape or electronic groundwater level indicator.

Representative portions of the soil samples, obtained from the split-spoon sampler, are sealed in
containers and shipped or transported to the office. In the office, the samples are examined by an
engineer to verify the driller's field classifications.

Undisturbed Sampling

Split tube samples are suitable for visual examination and classification tests but are not
sufficiently intact for quantitative laboratory testing. Relatively undisturbed samples are obtained
by pushing sections of 3 inch O.D., 16-gauge, steel "Shelby" tubing into the soil at the desired
sampling levels. This procedure is described by ASTM Standard D-1587. Each tube, together
with the encased soil, is carefully removed from the ground, made airtight, and transported to the
laboratory. Locations and depths of undisturbed samples are shown on the Test Pit or Boring
Records.
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Soil Identification and Description

Soils are normally classified using the Unified Soil Classification System (ASTM D 2487). In
addition to standard classification, soils are identified in accordance with the important soil
properties to provide a complete description and assist with predicting behavior. Soil properties
significant to most earthwork/foundation problems include consistency (cohesive fine grained
soils) or relative density (cohesionless granular soils), color, and texture or composition.
Consistency and relative density are fundamental properties in evaluating soil strength and are
typically estimated based on standard penetration test results. The engineer's examination of soil
samples recovered during the field investigation is primarily a qualitative visual process. Detailed
soil classification requires basic laboratory grain size analyses and Atterberg limits (plasticity)
tests.

Physical Properties

In-situ physical soil properties are described by the specific gravity, wet unit weight, moisture
content, dry unit weight, void ratio, and percent saturation. Specific gravity is the ratio of the unit
weight of the soil solids to the unit weight of distilled water at 4 degrees C. Moisture content of
soil is defined as the weight of water in a given soil mass divided by the weight of dry soil solids
in the same mass. Specific gravity and moisture content are determined in accordance with ASTM
Standards D-854 and D-2216, respectively. Wet unit weight is obtained by weighing a known
volume of soil and dividing the weight by the known volume. Dry unit weight is calculated from
the wet weight, once the moisture content of the sample is determined. Void ratio, the ratio of the
volume of voids to the volume of solids in a given volume of soil, and percent saturation, the ratio
of the volume of water to the total volume of soil voids, are calculated from the measured
weight/volume relationships for a given soil mass.

Grain Size/Gradation

Grain size tests are performed to determine the soil classification and the grain size distribution.
The soil samples are prepared for testing according to ASTM D-421 (dry preparation ) or ASTM
D-2217 (wet preparation). The grain size distribution of soils coarser than a number 200 sieve
(0.074 mm opening) is determined by passing the samples through a standard set of nested sieves.
A sample of known weight is passed through the sequence of sieves with decreasing size of
openings and the portions retained on each sieve weighed. Materials passing the number 200 sieve
are suspended in water and the grain size distributing calculated from the measured settlement rate
(hydrometer analysis). Hydrometer analysis determines the density of a suspension of soil at
various times after agitation. Using Stokes's law, the particle size remaining suspended at each
particular time is calculated and the corresponding density is a measure of the quantity of soil
smaller than the computed size. Procedures for the quantitative determination of the distribution
of particle (grain) sizes in soils is described by ASTM D-422. Determination of the total amount
of material finer than the No. 200 sieve is in accordance with ASTM D-1140.
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Soil Plasticity

Representative samples of the soils were selected for Atterberg limits testing to determine the soil
plasticity characteristics. The soil's Plasticity Index (PI) is representative of this characteristic and
is bracketed by the Liquid Limit (LL) and the Plastic Limit (PL). The LL is the moisture content
at which the soil will flow as a heavy viscous fluid, and the PL is the moisture content at which
the soil begins to lose its plasticity. The soil plasticity characteristics are determined in accordance
with ASTM D-4318.

Certain soils swell and shrink with increases and decreases in soil moisture. The PL is related to
this potential volume change ability. When such volume changes occur in soils confined beneath
foundations, structural deformations can be produced. Past experience has shown that soils having
a PI of less than 30 are only slightly susceptible to volume changes. Soils having a PI greater than
50 are generally very susceptible to these volume changes. Soils with a PI between these limits
have moderate volume change potential.

Triaxial Shear Test

Drained and undrained strength parameters for soils are usually obtained by triaxial shear testing,
where the test specimen drainage can be controlled and the pore pressure measured. There are
three common types of triaxial shear tests: (1) UU - Unconsolidated Undrained or “Quick” test,
(2) CU - Consolidated Undrained and (3) CD - Consolidated Drained. Triaxial shear tests make
possible the determination of both total (c) and (ϕ), and effective (c’) and (ϕ’) cohesion and angle
of friction soil strength parameters. The following are the ASTM test procedures for these tests:
(1) ASTM D2850 - Standard Test Method for Unconsolidated-Undrained Triaxial Compression
Test on Cohesive Soils, (2) ASTM D4767 - Standard Test Method for Consolidated Undrained
Triaxial Compression Test for Cohesive Soils and (3) ASTM D7181 - Standard Test Method for
Consolidated Drained Triaxial Compression Test for Soils.

A complete triaxial test usually consists of shearing three specimens of a single soil sample at
different confining pressures to determine the shear strength. Each specimen is prepared for testing
by trimming into a nominal 3-inch diameter cylinder with a height to diameter ratio of 2:1, encased
in a rubber membrane and placed in a compression chamber. The specimen is initially saturated
for effective stress tests (CU and CD) to assure reliable measurements of the pore water pressures.
After saturation, the test specimen is then subjected to an all-around confining pressure and
consolidated to a stress condition representative of the in-situ soil condition. During the final stage
of testing, the axial load on the test specimen is gradually increased until the specimen fails in
shear. The test results are presented in the form of stress-strain curves and Mohr circle envelopes.
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                         APPENDIX D

     FIGURE 2 – BORING LOCATION PLAN
FIGURE 3 – SUBSURFACE SECTIONS (A-A’ & B-B’)
FIGURE 4 – SUBSURFACE SECTIONS (C-C’ & D-D’)
   KEY TO SYMBOLS AND CLASSIFICATIONS
         SOIL TEST BORING LOGS (6)
       HANDAUGER BORING SUMMARY
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-1
                        FORSYTH COUNTY, GEORGIA
                                                                                                                NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                        ELEVATION (feet): 1388
                                                                                                                the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/29/2022                             BORING DEPTH (feet): 15                                    water measured at the end of day (NGWM).
                                                     WATER
DRILLER: KILMAN BROS., INC.                          LEVEL      TOB (feet): NGWE         24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                 STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                      N VALUE
DEPTH




                                                                                                                            (blows/ft)
(feet)




                                                                                            (feet)
                                                                                             ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                  2   3 4 56      10    20 30 40 60 80
   0               POSSIBLE FILL: Loose tan brown silty fine to coarse SAND (SM), rock        1388
                   fragments, moist
                                                                                                        7
                   RESIDUUM: Medium dense tan pinkish brown silty fine to medium
                   SAND (SM)
   5                                                                                          1383    27



                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white slightly                50/2"
                   micaceous silty fine to coarse SAND (SM), rock fragments

  10                                                                                          1378   50/4"




  15                                                                                          1373   50/1"
                   Boring terminated at 15 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                                 JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-2
                        FORSYTH COUNTY, GEORGIA
                                                                                                                NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                       ELEVATION (feet): 1390
                                                                                                                the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                            BORING DEPTH (feet): 15                                     water measured at the end of day (NGWM).
                                                    WATER
DRILLER: KILMAN BROS., INC.                         LEVEL     TOB (feet): NGWE           24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                 STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                      N VALUE
DEPTH




                                                                                                                            (blows/ft)
(feet)




                                                                                            (feet)
                                                                                             ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                  2   3 4 56      10    20 30 40 60 80
   0               RESIDUUM: Medium dense tan brown silty fine to medium SAND (SM)            1390


                                                                                                      24
                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                   fine to coarse SAND (SM), rock fragments
   5                                                                                          1385   50/6"

                   Very dense tan white silty fine to medium SAND (SM), rock fragments
                                                                                                     50/5"



  10                                                                                          1380   50/2"




  15                                                                                          1375   50/5"
                   Boring terminated at 15 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                                 JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-4
                        FORSYTH COUNTY, GEORGIA
                                                                                                                  NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                       ELEVATION (feet): 1388
                                                                                                                  the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/29/2022                            BORING DEPTH (feet): 20                                       water measured at the end of day (NGWM).
                                                    WATER
DRILLER: KILMAN BROS., INC.                         LEVEL      TOB (feet): NGWE            24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                   STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                        N VALUE
DEPTH




                                                                                                                              (blows/ft)
(feet)




                                                                                              (feet)
                                                                                               ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                    2   3 4 56      10    20 30 40 60 80
   0               RESIDUUM: Firm red brown sandy CLAY (CL)                                     1388


                                                                                                          8
                   Medium dense slightly micaceous tan brown silty fine to medium SAND
                   (SM)
   5                                                                                            1383    15

                   Medium dense slightly micaceous tan white silty fine to medium SAND
                   (SM)                                                                                 25
                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                   fine to coarse SAND (SM)
  10                                                                                            1378   50/5"




                   Very dense tan pinkish white fine to coarse SAND (SW), rock fragments

  15                                                                                            1373   50/4"




  20                                                                                            1368   50/0"
                   Boring terminated at 20 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                                   JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-5
                        FORSYTH COUNTY, GEORGIA
                                                                                                            NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                           ELEVATION (feet): 1389
                                                                                                            the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                                BORING DEPTH (feet): 27                             water measured at the end of day (NGWM).
                                                        WATER
DRILLER: KILMAN BROS., INC.                             LEVEL     TOB (feet): NGWE   24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                             STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                  N VALUE
DEPTH




                                                                                                                        (blows/ft)
(feet)




                                                                                        (feet)
                                                                                         ELEV
           LOG




                                               GEOLOGIC DESCRIPTION
                                                                                                              2   3 4 56      10    20 30 40 60 80
   0               RESIDUUM: Medium dense orange pinkish tan silty fine to medium         1389
                   SAND (SM)
                                                                                                  20
                   Medium dense reddish white silty fine to coarse SAND (SM)

   5                                                                                      1384    23

                   Hard slightly micaceous tan white sandy SILT (ML)
                                                                                                  33
                   Very stiff brown white fine to coarse sandy SILT (ML)

  10                                                                                      1379    24




  15                                                                                      1374    27




                   Very dense tan white fine to coarse SAND (SW), rock fragments

  20                                                                                      1369    77
                   PARTIALLY WEATHERED ROCK: Sampled as Very dense pinkish white
                   fine to coarse SAND (SW)




  25                                                                                      1364   50/3"



                   Auger refusal at 27 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                             JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                        FORSYTH COUNTY, GEORGIA
                                                                                                               NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                         ELEVATION (feet): 1389
                                                                                                               the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                              BORING DEPTH (feet): 48                                  water measured at the end of day (NGWM).
                                                      WATER
                                                                                                               3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                           LEVEL      TOB (feet): NGWE            24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                      STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                            N VALUE
DEPTH




                                                                                                                                 (blows/ft)
(feet)




                                                                                                 (feet)
                                                                                                  ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                       2   3 4 56   10     20 30 40 60 80
   0               POSSIBLE FILL: Loose red brown silty fine to coarse SAND (SM), rock             1389
                   fragments, moist
                                                                                                              8
                   RESIDUUM: Stiff tan pinkish brown sandy SILT (ML), moist

   5                                                                                               1384     12
                   Medium dense silty fine to coarse SAND (SM)

                   Undisturbed sample (Shelby Tube) 5' to 7'
                                                                                                            16
                   Medium dense tan white slightly micaceous silty fine to medium SAND
                   (SM)
  10                                                                                               1379     23




                   Dense white tan fine to coarse SAND (SW)

  15                                                                                               1374     42




                   Dense pinkish white slightly silty fine to coarse SAND (SW), rock
                   fragments
  20                                                                                               1369     44




                   Medium dense white pinkish tan silty fine to coarse SAND (SM)

  25                                                                                               1364     17




                   Dense tan brown slightly micaceous silty fine to coarse SAND (SM), rock
                   fragments
  30                                                                                               1359     34




  35                                                                                               1354     48




                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                                                                                                           50/3"
                   fine to coarse SAND (SM), rock fragments
  40                                                                                               1349

GEOSYSTEMS ENGINEERING, INC.                                                                                                                   JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                        FORSYTH COUNTY, GEORGIA
                                                                                                       NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                           ELEVATION (feet): 1389
                                                                                                       the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                                BORING DEPTH (feet): 48                        water measured at the end of day (NGWM).
                                                        WATER
                                                                                                       3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                             LEVEL     TOB (feet): NGWE   24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                              STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                    N VALUE
DEPTH




                                                                                                                         (blows/ft)
(feet)




                                                                                         (feet)
                                                                                          ELEV
           LOG




                                               GEOLOGIC DESCRIPTION
                                                                                                               2   3 4 56   10     20 30 40 60 80
                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                   fine to coarse SAND (SM), rock fragments



  45                                                                                       1344    50/5"




                   Auger refusal at 48 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                           JOB NO. 22-2875
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                         APPENDIX E

            LABORATORY TEST REPORTS
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                                      Client: GeoSystems
                           Case 1:23-mi-99999-UNA        Engineering,
                                                    Document          Inc.
                                                                  2545-7   Filed 08/09/23 Page 105 of 155
                                                 Project:    Cumming - Highway 20 Tank Site Slope Failure
                                                 Location: Cumming, Forsyth County, Georgia                                       Project No:        GTX-316581
                                                 Boring ID: B-4                      Sample Type: jar                             Tested By:      jbh
                                                 Sample ID: SS-1                     Test Date:    01/04/23                       Checked By:     MCM
                                                 Depth :     1-2.5 ft                Test Id:      341697
                                                 Test Comment:        ---
                                                 Visual Description:  Moist, reddish brown sandy clay
                                                 Sample Comment:      ---


                                                 Atterberg Limits - ASTM D4318

                                                                               Plasticity Chart


                          60




                          50
                                                                                                    " U" Line


                                                                                                                           " A" Line
                          40
                                                                                                   CH or OH
       Plasticity Index




                          30



                          20
                                                              CL or OL


                          10                                                                                                 MH or OH

                                                CL-ML                   ML or OL

                          0
                               0           10        20        30           40          50              60           70           80        90          100
                                                                                    Liquid Limit




 Symbol                            Sample ID       Boring    Depth      Natural     Liquid     Plastic       Plasticity   Liquidity       Soil Classification
                                                                        Moisture    Limit       Limit          Index       Index
                                                                       Content,%

                                    SS-1            B-4     1-2.5 ft      22         43            24           19         -0.1        Sandy Lean CLAY (CL)




   Sample Prepared using the WET method
   17% Retained on #40 Sieve
   Dry Strength: HIGH
   Dilatancy: SLOW
   Toughness: MEDIUM




printed 1/10/2023 8:18:01 AM
                                      Client: GeoSystems
                           Case 1:23-mi-99999-UNA        Engineering,
                                                    Document          Inc.
                                                                  2545-7   Filed 08/09/23 Page 106 of 155
                                                 Project:    Cumming - Highway 20 Tank Site Slope Failure
                                                 Location: Cumming, Forsyth County, Georgia                                        Project No:      GTX-316581
                                                 Boring ID: B-5                       Sample Type: jar                             Tested By:    jbh
                                                 Sample ID: SS-4                      Test Date:    01/04/23                       Checked By:   MCM
                                                 Depth :     8.5-10 ft                Test Id:      341698
                                                 Test Comment:         ---
                                                 Visual Description:   Moist, reddish brown sandy silt
                                                 Sample Comment:       ---


                                                 Atterberg Limits - ASTM D4318

                                                                                Plasticity Chart


                          60




                          50
                                                                                                     " U" Line


                                                                                                                            " A" Line
                          40
                                                                                                    CH or OH
       Plasticity Index




                          30



                          20
                                                               CL or OL


                          10                                                                                                  MH or OH

                                                CL-ML                    ML or OL

                          0
                               0           10        20         30           40          50              60           70           80      90          100
                                                                                     Liquid Limit




 Symbol                            Sample ID       Boring    Depth       Natural     Liquid     Plastic       Plasticity   Liquidity     Soil Classification
                                                                         Moisture    Limit       Limit          Index       Index
                                                                        Content,%

                                    SS-4            B-5     8.5-10 ft      23         48            36           12         -1.1         Sandy SILT (ML)




   Sample Prepared using the WET method
   14% Retained on #40 Sieve
   Dry Strength: MEDIUM
   Dilatancy: SLOW
   Toughness: MEDIUM




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                         APPENDIX F

              COLLIER GEOPHYSICS
           GEOPHYSICAL LETTER REPORT
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                  Figure 1: Approximate location of project site in Cumming, GA.
                                  Google Earth Imagery (2023).

Site Description
The site consisted of steep terrain in a moderately dense forest. Asphalt waste was observed in
the soil throughout the site. Weather conditions were mostly sunny and dry.

Data Acquisition
A total of two seismic lines were collected in the approximate locations originally requested by
Client (Figure A-1). Profile 1 was approximately 200 feet in length while Profile 2 was
approximately 300 feet in length. Each seismic line was collected using a twenty-four (24) 4.5 Hz
geophones, with a sensor spacing of 10 feet. Seismic data were acquired using a Geometrics
Geode 24-channel digital seismograph. This system utilizes a state-of-the-art, 24-bit seismograph
connected to a field laptop via an Ethernet cable. Analog data from the geophones are collected
in the seismograph where the data are digitized, transmitted to the laptop computer, and then
recorded on the hard drive. The line locations and orientations were measured with an Emlid
Reach RS2 GPS utilizing RTK corrections.

Seismic data were acquired using an active seismic source, consisting of a 16 lb sledgehammer
impacting a plastic strike plate. Shot points were located every 10 feet along the line, beginning
with a shot point located 5 feet off the end of the line. The first shot point of each line and every
third shot along the line were collected with eight stacked records to improve signal-to-noise ratio
for seismic refraction analysis. The remaining shot points were collected with two stacked records
exclusively for MASW analysis. Acquisition was performed using 1 second records at a 0.125
millisecond (ms) sample rate.


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Data Processing

Seismic Refraction Tomography (SRT)
Refraction data from this investigation were processed using Rayfract®, version 4.01, by
Intelligent Resources Inc. The two steps involved with SRT processing are first arrival picking and
tomographic inversion. The first arrival picking step consists of picking the time at which the first-
arrival energy is observed at each signal trace for every shot record. Figure 2 illustrates the
picking approach used for SRT records, with an example from Profile 1 of this investigation. After
picking is completed, an inversion is performed generating a two-dimensional (2D) Vp model that
best fits the arrival picks by iteratively modifying an initial velocity gradient model until the misfit
between the modeled and measured travel-time values is minimized, subject to smoothing
constraints.




 Figure 2: Example of the first-arrival picking (red Xs) on a sample refraction record from
                                           Profile 1.


Multi-channel Analysis of Surface Waves (MASW)
MASW analysis consists of generating a frequency-velocity transform from surface waves, picking
the transformed data to derive dispersion curves and inverting dispersion curves to create layered
Vs models. 1D Layered Vs models are generated for several subsets of the geophone spread,
representing a bulk average Vs across each subset. These 1D models are positioned at the
center of each subset and results are interpolated to generate a 2D Vs model across the profile.
Figure 3 illustrates the dispersion curve picking approach used for MASW soundings, with an
example from this investigation. The program ParkSeis was used to accomplish these steps.




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        Figure 3: Example of dispersion curve picking (white squares) from Profile 1.



Results and Discussion
Seismic results are presented in Figures A-2 and A-3, appended to this report as 11x17 inch
figures in landscape format. The figures each contain 2D Vp and Vs profiles. The Vp and Vs
profiles are presented using consistent color scales between Profiles 1 and 2, with ‘cool’ colors
(e.g. blue) representing lower velocity values and ‘warm’ colors (e.g., red) representing higher
velocity values. Each of the profiles are presented at the same horizontal and vertical scale.
Boring information provided by Client are plotted on each profile.

Based on limited boring information available along Profile 2 (Figure A-3), the top of partially-
weathered rock (PWR) was interpreted in both profiles to correspond to approximately 4500 ft/s
Vp and 800 ft/s Vs. Unweathered rock (UWR) was not documented in any boring data provided
– UWR was interpreted to correspond to Vp values greater than approximately 6500 ft/s and Vs
values greater than approximately 1200 ft/s which roughly correlates with auger refusal depth
encountered in boring B-5 (Figure A-3). Without boring data confirming depth to UWR,
interpretation of this horizon remains somewhat speculative.

The interpreted PWR surface generally follows surface topography along the profiles at
approximately 20 feet below ground surface (BGS). The zone of weathered rock ranges from
approximately 15 feet to 40 feet in thickness. PWR thickness is greatest at the ends of Profile 2
(Figure A-3) and at approximately 140 to 160 feet distance along Profile 1 (Figure A-2). The top
of UWR surface also generally follows surface topography at approximately 40 to 50 feet BGS.

Vp and Vs of the overburden in Profile 1 (Figure A-2) appear to be reduced from approximately
30 to 140 feet distance along the profile. The Vp model shows significant heterogeneity in
overburden velocity throughout the profile, lower velocity zones (blue) may suggest areas with
less competent overburden. The Vs model shows a mostly continuous, approximately 10-foot
thick band of reduced velocity material at approximately 30 feet BGS that may reflect a change in
bedrock lithology or degree of weathering.




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Vp of the overburden in Profile 2 (Figure A-3) also exhibits significant heterogeneity, lower-
velocity zones are observed from approximately 0 – 80 feet, 105 – 130 feet, 135 – 175 feet, and
200 – 300 feet distance along the profile. Overburden Vs is slightly lower from 115 to 160 feet
and 35 to 70 distance along the profile. Reduced velocity zones may indicate less competent
overburden.

Closure
The quality of the seismic data acquired during this investigation was good for both methods.

The geophysical methods and field procedures defined in this report were applicable to the project
objectives and have been successfully applied by Collier geophysicists to investigations of similar
size and nature. However, sometimes field or subsurface conditions are different from those
anticipated and the resultant data may not achieve the investigation objectives. Collier warrants
that our services were performed within the limits prescribed for this project, with the usual
thoroughness and competence of the geophysical profession. Collier conducted this project using
the current standards of the geophysical industry and utilized in house quality control standards
to produce a precise geophysical survey.

If you have any questions regarding the field procedures, data analyses, or the interpretive results
presented herein, please do not hesitate to contact us. For further information regarding the
details of MASW and SRT techniques, Collier can submit a more detailed description of the
methods upon request. We appreciate working with you and look forward to providing
Geosystems Engineering with geophysical services in the future.



Respectfully Submitted,

Collier Geophysics, LLC



____________________________                           ___________________________

Eric Armstrong                                         Jorgen Bergstrom, P.G., P.Gp.
Geophysicist                                           Senior Geophysicist

(1 copy e-mailed PDF format)




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                                                         FIGURES
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      SLOPE STABILITY ANALYSIS REPORTS
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